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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION
                                   www.flmb.uscourts.gov

In re:                                                Case No.: 3:16-bk-2232-PMG

   PREMIER EXHIBITIONS, INC., et. al.,                Chapter 11

         Debtor.                                  /

    CERTIFICATION OF NECESSITY OF REQUEST FOR EMERGENCY HEARING

         I HEREBY CERTIFY, as a member of the Bar of the Court, that I have carefully
 examined the matter under consideration and to the best of my knowledge, information and
 belief formed after reasonable inquiry, all allegations are well grounded in fact and all
 contentions are warranted by existing law or a good faith argument for the extension,
 modification, or reversal of existing law can be made, that the matter under consideration is
 not interposed for any improper purpose, such as to harass, to cause delay, or to increase the
 cost of litigation, and there is just cause to request a consideration of the following pleading
 on an emergency basis:

RESPONSIBLE PERSON’S EXPEDITED MOTION FOR TURNOVER OF
ELECTRONICALLY STORED DATA [ECF# 88] (the “Motion”).

        I CERTIFY FURTHER that there is a true necessity for an emergency hearing,
specifically, because the Parties to Adversary Proceeding No. 18-00064-PMG are currently set
for mediation on July 24, 2019, and the information on the Debtors’ servers likely has
information that is necessary for the Responsible Person’s preparation

        I CERTIFY FURTHER that the necessity of this emergency hearing has not been caused
by a lack of due diligence on my part, but has been brought about only by circumstances beyond
my control or that of my client. I further certify that this motion is filed with full understanding
of F.R.B.P. 9011 and the consequences of noncompliance with same.

Dated: May 23, 2019                              AGENTIS, PLLC
                                                 Counsel for Mark C. Healy as Responsible Person
                                                 55 Alhambra Plaza, Suite 800
                                                 Coral Gables, Florida 33134
                                                 Tel.: 305.722.2002
                                                 www.agentislaw.com


                                                 By: ___/s/ Robert P. Charbonneau______________
                                                        Robert P. Charbonneau
                                                        Florida Bar No.: 968234
                                                        rpc@agentislaw.com


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